                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )   CASE NO. 3:13-00065
                                                )   JUDGE SHARP
TERRY DUANE JORDAN [3]                          )


                                          ORDER


       A hearing on a plea of guilty in this matter is hereby scheduled for Thursday, June 26,

2014, at 3:30 p.m.

       It is so ORDERED.



                                            KEVIN H. SHARP
                                            UNITED STATES DISTRICT JUDGE




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